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26 March 2021

VIA ECF

The Honorable Edgardo Ramos
United States District Judge
United States District Court
Southern District of New York
500 Pearl Street,
New York, New York 10007

Re:   Karunakaran v. BMCC, CUNY, et al.
      Case No.: 18-cv-10723


Dear Judge Ramos:

We write to inform the Court that the Plaintiff, Chita Karunakaran, has chosen to pursue
her case pro se and has discharged this law firm. Ballon Stoll Bader & Nadler, P.C. no
longer represents the Plaintiff. We respectfully request that the docket be adjusted
accordingly.

Respectfully submitted,


    s/Marshall Bellovin
MARSHALL B. BELLOVIN (MB5508)
Member of the Firm


cc: J. Kevin Shaffer, Esq. (by ECF)
